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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA : CRIMINAL NO. 21-CR-605
v. : VIOLATIONS:

> =« 18: U.S.C. § 231(a)(3)

ISAAC WESTBURY, : (Civil Disorder)

AARON JAMES, and > 18U.S.C. § 111(a)(1) and (b)

ROBERT WESTBURY :  (Assaulting, Resisting, or Impeding
: Certain Officers Using a Dangerous

Defendants. : Weapon)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

: 18 0U.S.C. § 1752(a)(4) and (b)(1)(A)

: (Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
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The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, ISAAC WESTBURY and
AARON JAMES, committed and attempted to commit an act to obstruct, impede, and interfere
with a law enforcement officer lawfully engaged in the lawful performance of his/her official
duties incident to and during the commission of a civil disorder which in any way and degree
obstructed, delayed, and adversely affected commerce and the movement of any article and
commodity in commerce and the conduct and performance of a federally protected function.
(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
COUNT TWO
On or about January 6, 2021, within the District of Columbia, ISAAC WESTBURY and
AARON JAMES, using a deadly and dangerous weapon, that is, a law enforcement shield, did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), and any person assisting such an officer and employee, while such officer
or employee was engaged in and on account of the performance of official duties, and where the
acts in violation of this section involve physical contact with the victim and the intent to commit
another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous
Weapon, in violation of Title 18, United States Code, Section II 1(a)(1) and (b))

COUNT THREE
On or about January 6, 2021, within the District of Columbia, ISAAC WESTBURY and
AARON JAMES, did knowingly enter and remain in a restricted building and grounds, that is,

any posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
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grounds, where the Vice President was temporarily visiting, without lawful authority to do so, and,
during and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a
law enforcement shield.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly

or Dangerous Weapon, in violation of Title 18, United States Code, Section

1752(a)(1) and (b)(1)(A))

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, ROBERT WESTBURY,
did unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its

grounds, where the Vice President was temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FIVE

On or about January 6, 2021, within the District of Columbia, ISAAC WESTBURY and
AARON JAMES, did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
was temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions, and, during and in relation to the offense,
did use and carry a deadly and dangerous weapon, that is, a law enforcement shield.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with

a Deadly or Dangerous Weapon, in violation of Title 18, United States Code,
Section 1752(a)(2) and (b)(1)(A))
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COUNT SIX

On or about January 6, 2021, within the District of Columbia, ROBERT WESTBURY,
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted
area within the United States Capitol and its grounds, where the Vice President was temporarily
visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in
violation of Title 18, United States Code, Section 1752(a)(2))

COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, ISAAC WESTBURY and
AARON JAMES, did knowingly, engage in any act of physical violence against any person and
property in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
restricted area within the United States Capitol and its grounds, where the Vice President was
temporarily visiting and, during and in relation to the offense, did use and carry a deadly and
dangerous weapon, that is, a law enforcement shield.
(Engaging in Physical Violence in a Restricted Building or Grounds with a
Deadly or Dangerous Weapon, in violation of Title 18, United States Code,
Section 1752(a)(4) and (b)(1)(A))
COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, ISAAC WESTBURY,
AARON JAMES, and ROBERT WESTBURY, willfully and knowingly engaged in disorderly
and disruptive conduct within the United States Capitol Grounds and in any of the Capitol

Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session of
 

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Congress and either House of Congress, and the orderly conduct in that building of a hearing before
or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States
Code, Section 5104(e)(2)(D))

COUNT NINE
On or about January 6, 2021, within the District of Columbia, ISAAC WESTBURY and
AARON JAMES, willfully and knowingly engaged in an act of physical violence within the
United States Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of
Title 40, United States Code, Section 5104(e)(2)(F))

COUNT TEN
On or about January 6, 2021, within the District of Columbia, ISAAC WESTBURY,
AARON JAMES, and ROBERT WESTBURY, willfully and knowingly paraded,
demonstrated, and picketed in any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of
Title 40, United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

Pg Thun. Bsves *

Attorney of the United States in
and for the District of Columbia.
